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Accounts Receivalbe Mgmt
PO Box 129
Thorofare, NJ 08086


Allied Hospital Pathologists
4245 Reliable Parkway
Chicago IL 60686-0042


Assoc Anes of Ft Wayne
PO Box 633260
Cincinnati OH 45263-3260


Bluestem Brands
c/o JC Christensen & Assoc
PO Box 519
Sauk Rapids, MN 56379


Bullcity Financial
1107 W Main St, Ste 201
Durham, NC 27701


Capital One
c/o Recovery Mgmt Systems Corp
25 SE 2nd Ave, Ste 1120
Miami, FL 33131-1605


Care Credit/GEMB
PO Box 981439
Elpaso, Tx 79998


Cavalry Portfolio Services
500 Summit Lake Dr, Ste 400
Valhalla, NY 10595


Comcast Cable
720 Taylor Street
Ft Wayne IN 46802


Community South Hospital Indianapolis
1402 E County Line Rd
Indianapolis, IN 46227
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Credit Collection Services
Two Wells Ave, Dept 773
Newton, MA 02459


Credit Protection Association
PO Box 802068
Dallas TX 75380-2068


Dr Brenda Russell
1250 E County Line Rd
Suite 9
Indianapolis, IN 46227


Duke Energy
PO Box 1327
Charlotte, NC 28201


Fingerhut
PO box 166
Newark, NJ 07101


GE Money Bank
PO Box 960061
Orlando FL 32896-0061


Helvey & Associates
1015 E Center Street
Warsaw IN 46580


HSBC Bank
PO box 5253
Carol Stream, IL 60197


Indianapolis Gastroenterology
c/o GLA Collection Company
PO Box 7728
Louisville KY 40257-0728


Jefferson Capital Sys
16 McLeland Rd
Saint Cloud, MN 56303
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Lutheran Hospital
15691 Collections Ctr Dr
Chicago, IL 60693


Lutheran Medical Group
PO box 4852
Belfast, ME 04915


Med Partners
111 E Wayne St
Fort Wayne, IN 46802


Med Shield Inc
PO Box 55707
Indianapolis IN 46205


Medical Payment Center
6089 Stoney Creek Dr
Fort Wayne, IN46825


Medtech College
7230 Engle Rd
Fort Wayne, IN 46804


MSCB Inc
PO Box 1567
Paris, TN 38242


Neighborhood Health Clinics
PO Box 11949
Ft Wayne IN 46862-1949


Northeast Indiana Urology
PO box 13309
Fort Wayne, IN 46868


Parkview Behaviorial Health
1720 Beacon St
Fort Wayne, IN 46805
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Parkview Health System
PO box 10416
Des Moines, IA 50306


Parkview Hospital
PO Box 9358
Des Moines IA 50306-9358


PFS
6027 N Clinton
Ft Wayne IN 46825


Portfolio Recovery & Affil
140 Corporate Blvd, Ste 100
Norfolk, VA 23502


Premiere Credit of North Am
PO Box 19309
Indianapolis IN 46219-0309


Professional Recovery Services
7319 W Jefferson Blvd
Ft Wayne IN 46804


Sprint
PO Box 740602
Cincinnati OH 45274-0602


St Joseph Hospital
15673 Collections Ctr Dr
Chicago, IL 60693


Summit Radiology
PO Box 66824
Indianapolis IN 46266-6824


The Endoscopy Center
c/o GLA Collection Company
PO Box 7728
Louisville KY 40257-0728
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Urology of Indiana LLC
c/o GLA Collection Company
PO Box 7728
Louisville KY 40257-0728


Wells Fargo Bank NV NA
PO Box 94435
Albuquerque, NM 87199


Wishard Health Service
c/o GLA Collection Company
PO Box 7728
Louisville KY 40257-0728


Wishard Memorial Hospital
c/o Med Shield Inc
PO Box 55707
Indianapolis IN 46205


Women's Health Advantage
7635 W Jefferson Blvd
Ft Wayne IN 46804
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                                         UNITED STATES BANKRUPTCY COURT
                                              Northern District of Indiana


 In re      Linda Sue Scott                                         ,
                                                Debtor                            Case No.

                                                                                                7
                                                                                  Chapter



                                         VERIFICATION OF LIST OF CREDITORS


         I hereby certify under penalty of perjury that the attached List of Creditors which consists of 5 pages, is true, correct

 and complete to the best of my knowledge.



                                                                                /s/ Linda Sue Scott
 Date                                                       Signature
                                                            of Debtor           LINDA SUE SCOTT




      Holly Ripke
   RIPKE LAW P.C.
4705 Illinois Rd, Ste 101
 Fort Wayne, IN 46804
     260-434-1990
     260-434-1988
                                                                                                                                         Case 14-12676-reg
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                                                                                                                                                                            According to the information required to be entered on this statement
                                                                                                                                                                            (check one box as directed in Part I, III, or VI of this statement):
                                                                                                           In re Linda Sue Scott                                                          The presumption arises.
                                                                                                                                     Debtor(s)                                            The presumption does not arise.
                                                                                                                                                                                          The presumption is temporarily inapplicable.
                                                                                                           Case Number:
                                                                                                                                     (If known)

                                                                                                                                     CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                                                AND MEANS-TEST CALCULATION
                                                                                                          In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor. If none of the exclusions
                                                                                                          in Part I applies, joint debtors may complete one statement only. If any of the exclusions in Part I applies, joint debtors should
                                                                                                          complete separate statements if they believe this is required by §707(b)(2)(C).

                                                                                                                                                 Part I. MILITARY AND NON-CONSUMER DEBTORS
                                                                                                                  Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
                                                                                                                  beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
                                                                                                                  complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                          1A
                                                                                                                      Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
                                                                                                                  veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
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                                                                                                                  active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
                                                                                                                  U.S.C. §901(1)).

                                                                                                                  Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the
                                                                                                                  verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                           1B
                                                                                                                      Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

                                                                                                                  Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
                                                                                                                  of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                                  § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                                  (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                                  time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                                  this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                                  Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                                  top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                                  to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
                                                                                                                  your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
                                                                                                                  case before your exclusion period ends.

                                                                                                                      Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                                                          1C      below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                                  component of the Armed Forces or the National Guard

                                                                                                                                    a.        I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                                      I remain on active duty /or/
                                                                                                                                                      I was released from active duty on ________________, which is less than 540 days before
                                                                                                                                    this bankruptcy case was filed;
                                                                                                                                             OR

                                                                                                                                    b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                                            I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                                    _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                                            Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION

                                                                                                                Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                                a.   Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                                b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                                     penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
                                                                                                                     are living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                                     Complete only Column A (“Debtor’s Income”) for Lines 3-11.
                                                                                                          2     c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                                     Column A (“Debtor’s Income”) and Column B (Spouse’s Income) for Lines 3-11.
                                                                                                                d.   Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                                     for Lines 3-11.

                                                                                                                 All figures must reflect average monthly income received from all sources, derived during
                                                                                                                 the six calendar months prior to filing the bankruptcy case, ending on the last day of the          Column A       Column B
                                                                                                                 month before the filing. If the amount of monthly income varied during the six months, you          Debtor’s       Spouse’s
                                                                                                                 must divide the six-month total by six, and enter the result on the appropriate line.                Income         Income
                                                                                                           3     Gross wages, salary, tips, bonuses, overtime, commissions.                                      $ 1,908.83     $       N.A.
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                                                                                                                 Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                                 and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
                                                                                                                 business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                                 Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                           4     entered on Line b as a deduction in Part V.
                                                                                                                     a.      Gross receipts                                    $                       0.00
                                                                                                                     b.      Ordinary and necessary business expenses          $                       0.00
                                                                                                                     c.      Business income                                   Subtract Line b from Line a       $       0.00   $       N.A.
                                                                                                                Rent and other real property income. Subtract Line b from Line a and enter the difference
                                                                                                                in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
                                                                                                                any part of the operating expenses entered on Line b as a deduction in Part V.
                                                                                                           5         a.      Gross receipts                                    $                       0.00
                                                                                                                     b.      Ordinary and necessary operating expenses         $                       0.00
                                                                                                                     c.      Rent and other real property income               Subtract Line b from Line a       $              $
                                                                                                                                                                                                                         0.00           N.A.
                                                                                                           6    Interest, dividends and royalties.                                                               $       0.00   $       N.A.
                                                                                                           7    Pension and retirement income.                                                                   $       0.00   $       N.A.
                                                                                                                 Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                                 expenses of the debtor or the debtor’s dependents, including child support paid for that
                                                                                                           8     purpose. Do not include alimony or separate maintenance payments or amounts paid by
                                                                                                                 your spouse if Column B is completed. Each regular payment should be reported in only one
                                                                                                                 column; If a payment is listged in Column A, do not report that payment in Column B.            $       0.00   $       N.A.
                                                                                                                Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                                However, if you contend that unemployment compensation received by you or your spouse
                                                                                                                was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                          9
                                                                                                                Column A or B, but instead state the amount in the space below:
                                                                                                                 Unemployment compensation claimed to be
                                                                                                                 a benefit under the Social Security Act         Debtor $       0.00     Spouse $   N.A.         $              $
                                                                                                                                                                                                                         0.00           N.A.
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                                                                                                                 Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                                 sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                                 paid by your spouse if Column B is completed, but include all other payments of
                                                                                                                 alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                                          10     Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                                 victim of international or domestic terrorism.
                                                                                                                    a.                                                                       $          0.00
                                                                                                                    b.                                                                         $           0.00
                                                                                                                    Total and enter on Line 10                                                                      $       0.00   $          N.A.
                                                                                                                 Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
                                                                                                          11     and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).             $ 1,908.83     $          N.A.
                                                                                                                Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                                          12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                                completed, enter the amount from Line 11, Column A.                                                                    1,908.83
                                                                                                                                                                                                                    $
                                                                                                                                              Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                                          13     Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
                                                                                                                                                                                                                                   $ 22,905.96
                                                                                                                 12 and enter the result.
                                                                                                                 Applicable median family income. Enter the median family income for the applicable state and household
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                                                                                                          14     size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
                                                                                                                 bankruptcy court.)

                                                                                                                                                        Indiana
                                                                                                                 a. Enter debtor’s state of residence: _______________                                       1
                                                                                                                                                                       b. Enter debtor’s household size: __________                $ 41,854.00

                                                                                                                 Application of Section 707(b)(7). Check the applicable box and proceed as directed.

                                                                                                          15             The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does not
                                                                                                                         arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                                                                                                                         The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.


                                                                                                                              Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                                                              Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

                                                                                                          16     Enter the amount from Line 12.                                                                                    $          N.A.

                                                                                                                 Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
                                                                                                                 Line 11, Column B that was NOT paid on a regular basis for the household expenses of the debtor or the
                                                                                                                 debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
                                                                                                                 payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
                                                                                                                 dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
                                                                                                                 a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                                          17

                                                                                                                  a.                                                                          $
                                                                                                                  b.                                                                          $
                                                                                                                  c.                                                                          $

                                                                                                                Total and enter on Line 17.                                                                                        $          N.A.

                                                                                                          18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                        $          N.A.
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                                                                                                                                        Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                                               Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

                                                                                                                National Standards: food, clothing and other items. Enter in Line 19A the “Total” amount from IRS
                                                                                                                National Standards for Food, Clothing and Other Items for the applicable number of persons. (This
                                                                                                          19A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
                                                                                                                number of person is the number that would currently be allowed as exemptions on your federal income tax
                                                                                                                return, plus the number of any additional dependents whom you support.                                             $   N.A.

                                                                                                                 National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                                 of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
                                                                                                                 Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                                 www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                                 persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                                 years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                                 that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                                          19B    additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                                 under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons
                                                                                                                 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and
                                                                                                                 enter the result in Line 19B.
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                                                                                                                  Persons under 65 years of age                          Persons 65 years of age or older
                                                                                                                  a1.      Allowance per person                  N.A.    a2.    Allowance per person               N.A.
                                                                                                                  b1.      Number of persons                      N.A.   b2.    Number of persons
                                                                                                                  c1.      Subtotal                              N.A.    c2.    Subtotal                           N.A.            $
                                                                                                                                                                                                                                       N.A.
                                                                                                                Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                                                              Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                                          20A available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable family size
                                                                                                              consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                              the number of any additional dependents whom you support.                                                            $   N.A.

                                                                                                                 Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
                                                                                                                 Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
                                                                                                                 information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
                                                                                                                 family size consists of the number that would currently be allowed as exemptions on your federal income
                                                                                                                 tax return, plus the number of any additional dependents whom you support); enter on Line b the total of the
                                                                                                          20B    Average Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from
                                                                                                                 Line a and enter the result in Line 20B. Do not enter an amount less than zero.


                                                                                                                 a.     IRS Housing and Utilities Standards; mortgage/rental expense        $                         N.A.
                                                                                                                 b.     Average Monthly Payment for any debts secured by your
                                                                                                                        home, if any, as stated in Line 42                                   $                        N.A.
                                                                                                                 c.     Net mortgage/rental expense                                         Subtract Line b from Line a                N.A.
                                                                                                                                                                                                                                   $

                                                                                                                 Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
                                                                                                                 20B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                                 Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                                 your contention in the space below:
                                                                                                          21

                                                                                                                                                                                                                                       N.A.
                                                                                                                                                                                                                                   $
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                                                                                                                Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
                                                                                                                an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                                regardless of whether you use public transportation.
                                                                                                                Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                                                are included as a contribution to your household expenses in Line 8.
                                                                                                          22A          0    1    2 or more.
                                                                                                                If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                                Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS
                                                                                                                Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                                Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                                the bankruptcy court.)                                                                                          $   N.A.

                                                                                                              Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                                              expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                                          22B additional deduction for your public transportation expenses, enter on Line 22B the "Public Transportation"
                                                                                                              amount from IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from
                                                                                                                                                                                                                                $   N.A.
                                                                                                              the clerk of the bankruptcy court.)
                                                                                                              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                                              which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                                              two vehicles.)
                                                                                                                  1         2 or more.
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                                                                                                              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                              Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                                                           23 Line a and enter the result in Line 23. Do not enter an amount less than zero.

                                                                                                                  a.       IRS Transportation Standards, Ownership Costs                      $                        N.A.
                                                                                                                           Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                                  b.                                                                          $                        N.A.
                                                                                                                           as stated in Line 42
                                                                                                                  c.       Net ownership/lease expense for Vehicle 1                          Subtract Line b from Line a.      $   N.A.
                                                                                                                Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                                only if you checked the “2 or more” Box in Line 23.
                                                                                                                Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                                (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                                Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
                                                                                                                Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                                          24      a.     IRS Transportation Standards, Ownership Costs                      $                        N.A.
                                                                                                                           Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                                 b.                                                                           $
                                                                                                                           as stated in Line 42                                                                       N.A.
                                                                                                                 c.        Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a.       $   N.A.
                                                                                                                Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
                                                                                                          25    federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self employment
                                                                                                                taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                    $   N.A.

                                                                                                                Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                                           26   payroll deductions that are required for your employment, such as retirement contributions, union dues, and     $
                                                                                                                uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.                        N.A.
                                                                                                                Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                                          27    term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
                                                                                                                life or for any other form of insurance.                                                                     $      N.A.
                                                                                                                 Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
                                                                                                                 required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
                                                                                                           28                                                                                                                $      N.A.
                                                                                                                 payments. Do not include payments on past due obligations included in Line 44.
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                                                                                                                                                                                                                                                           6


                                                                                                                Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                                          29    Enter the total average monthly amount that you actually expend for education that is a condition of
                                                                                                                employment and for education that is required for a physically or mentally challenged dependent child for
                                                                                                                                                                                                                                          $         N.A.
                                                                                                                whom no public education providing similar services is available.
                                                                                                                Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                                          30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other                           $
                                                                                                                educational payments.                                                                                                               N.A.
                                                                                                                Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                                          31    on health care that is required for the health and welfare of yourself or your dependents, that is not
                                                                                                                reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
                                                                                                                Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.                      $         N.A.
                                                                                                                Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                                actually pay for telecommunication services other than your basic home telephone and cell phone service—
                                                                                                          32    such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                                your health and welfare or that of your dependents. Do not include any amount previously deducted.                        $         N.A.

                                                                                                          33      Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                                      $         N.A.

                                                                                                                                                  Subpart B: Additional Living Expense Deductions
                                                                                                                                         Note: Do not include any expenses that you have listed in Lines 19-32.
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                                                                                                                Health Insurance, Disability Insurance and Health Savings Account Expenses. List the monthly
                                                                                                                expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
                                                                                                                or your dependents.
                                                                                                                    a.     Health Insurance                                                    $                      N.A.
                                                                                                                    b.      Disability Insurance                                                    $                        N.A.
                                                                                                                    c.      Health Savings Account                                                  $                        N.A.
                                                                                                          34
                                                                                                                Total and enter on Line 34.                                                                                                $        N.A.
                                                                                                                If you do not actually expend this total amount, state your actual average expenditures in the space
                                                                                                                below:
                                                                                                                    $          N.A.

                                                                                                                Continued contributions to the care of household or family members. Enter the total average actual
                                                                                                          35    monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                                elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                                                                                                                                                          $         N.A.
                                                                                                                unable to pay for such expenses.
                                                                                                                Protection against family violence. Enter the total average reasonably necessary monthly expenses that
                                                                                                                you actually incurred to maintain the safety of your family under the Family Violence Prevention and
                                                                                                          36    Services Act or other applicable federal law. The nature of these expenses is required to be kept
                                                                                                                                                                                                                                          $         N.A.
                                                                                                                confidential by the court.
                                                                                                                Home energy costs Enter the total average monthly amount, in excess of the allowance specified by IRS
                                                                                                          37    Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                                provide your case trustee with documentation of your actual expenses, and you must demonstrate that                                 N.A.
                                                                                                                                                                                                                                          $
                                                                                                                the additional amount claimed is reasonable and necessary.
                                                                                                                Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                                expenses that you actually incur, not to exceed $156.25* per child, for attendance at a private or public
                                                                                                          38    elementary or secondary school by your dependent children less than 18 years of age. You must provide
                                                                                                                your case trustee with documentation of your actual expenses and you must explain why the amount                          $         N.A.
                                                                                                                claimed is reasonable and necessary and not already accounted for in the IRS Standards.
                                                                                                          *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                                                                                                                         7


                                                                                                                Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                                clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                                          39    National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                                www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the
                                                                                                                additional amount claimed is reasonable and necessary.                                                              $   N.A.

                                                                                                                Continued charitable contributions. Enter the amount that you will continue to contribute in the form
                                                                                                          40
                                                                                                                of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170 (c)(1)-(2)              $   N.A.

                                                                                                          41    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40.
                                                                                                                                                                                                                                    $   N.A.

                                                                                                                                                    Subpart C: Deductions for Debt Payment

                                                                                                                Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                                you own, list the name of creditor, identify the property securing the debt, state the Average Monthly
                                                                                                                Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
                                                                                                                total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                                filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
                                                                                                                the total Average Monthly payments on Line 42.

                                                                                                          42                                                                                       Average
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                                                                                                                             Name of                        Property Securing the Debt                            Does payment
                                                                                                                                                                                                   Monthly
                                                                                                                             Creditor                                                                            include taxes or
                                                                                                                                                                                                   Payment
                                                                                                                                                                                                                    insurance?
                                                                                                                  a.                                                                           $                      yes     no
                                                                                                                  b.                                                                           $                      yes     no
                                                                                                                  c.                                                                            $                     yes     no
                                                                                                                                                                                              Total: Add Lines
                                                                                                                                                                                              a, b and c                            $   N.A.

                                                                                                                Other payments on secured claims. If any of the debts listed in Line 42 are secured by your primary
                                                                                                                residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
                                                                                                                you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
                                                                                                                in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
                                                                                                                amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
                                                                                                                List and total any such amounts in the following chart. If necessary, list additional entries on a separate
                                                                                                                page.
                                                                                                          43                 Name of                             Property Securing the Debt        1/60th of the Cure Amount
                                                                                                                             Creditor
                                                                                                                  a.                                                                               $
                                                                                                                  b.
                                                                                                                                                                                                   $
                                                                                                                  c.                                                                               $
                                                                                                                                                                                                                                    $   N.A.

                                                                                                               Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
                                                                                                          44   as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
                                                                                                               filing. Do not include current obligations, such as those set out in Line 28.                                $           N.A.
                                                                                                                                        Case 14-12676-reg
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                                                                                                                                                                                                                                                        8

                                                                                                                 Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the
                                                                                                                 following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
                                                                                                                 expense.
                                                                                                                  a.        Projected average monthly Chapter 13 plan payment.                             $             N.A.
                                                                                                                            Current multiplier for your district as determined under schedules issued
                                                                                                                  b.        by the Executive Office for United States Trustees. (This information is
                                                                                                           45
                                                                                                                            available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy            x              N.A.
                                                                                                                            court.)
                                                                                                                  c.        Average monthly administrative expense of Chapter 13 case                      Total: Multiply Lines
                                                                                                                                                                                                           a and b                      $            N.A.
                                                                                                          46     Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                             $            N.A.
                                                                                                                                                      Subpart D: Total Deductions from Income
                                                                                                          47 Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                                $            N.A.
                                                                                                                                        Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                                          48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                     $            N.A.
                                                                                                          49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                          $            N.A.
                                                                                                          50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                           $            N.A.
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                                                                                                                60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and
                                                                                                          51    enter the result.                                                                                                       $            N.A.
                                                                                                                Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                                    The amount on Line 51 is less than $7,475*. Check the box for “The presumption does not arise” at the top of page 1
                                                                                                                    of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                                                          52        The amount set forth on Line 51 is more than $12,475*. Check the “Presumption arises” box at the top of
                                                                                                                    page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                                    the remainder of Part VI.
                                                                                                                    The amount on Line 51 is at least $7,475*, but not more than $12,475*. Complete the remainder of Part VI (Lines
                                                                                                                    53 through 55).
                                                                                                          53    Enter the amount of your total non-priority unsecured debt                                                              $           N.A.

                                                                                                           54 Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. $                  N.A.
                                                                                                              Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                                                 The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at the
                                                                                                                 top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                                           55
                                                                                                                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
                                                                                                                 arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part
                                                                                                                 VII.

                                                                                                                                                  Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                                Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                                                and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                                                under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                                                monthly expense for each item. Total the expenses.
                                                                                                                                                    Expense Description                                                    Monthly Amount
                                                                                                           56          a.                                                                                            $                N.A.
                                                                                                                       b.                                                                                            $                      N.A.
                                                                                                                       c.                                                                                            $                      N.A.
                                                                                                                                                                       Total: Add Lines a, b and c                                          N.A.
                                                                                                          *Amounts are subject to adjustment on 4/1/2016, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                                                             Part VIII: VERIFICATION
                                                                                                                I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                                both debtors must sign.)
                                                                                                                     Date:                                      Signature:         /s/ Linda Sue Scott
                                                                                                                                                                                       (Debtor)
                                                                                                          57
                                                                                                                      Date:                                      Signature:
                                                                                                                                                                                      (Joint Debtor, if any)
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                                                                                                                                                  Form 22 Continuation Sheet
                                                                                                          Income Month 1                                                 Income Month 2


                                                                                                          Gross wages, salary, tips...          1,908.83       0.00      Gross wages, salary, tips...             1,908.83   0.00
                                                                                                          Income from business...                   0.00       0.00      Income from business...                      0.00   0.00
                                                                                                          Rents and real property income...         0.00       0.00      Rents and real property income...            0.00   0.00
                                                                                                          Interest, dividends...                    0.00       0.00      Interest, dividends...                       0.00   0.00
                                                                                                          Pension, retirement...                    0.00       0.00      Pension, retirement...                       0.00   0.00
                                                                                                          Contributions to HH Exp...                0.00       0.00      Contributions to HH Exp...                   0.00   0.00
                                                                                                          Unemployment...                           0.00       0.00      Unemployment...                              0.00   0.00
                                                                                                          Other Income...                           0.00       0.00      Other Income...                              0.00   0.00



                                                                                                          Income Month 3                                                 Income Month 4


                                                                                                          Gross wages, salary, tips...          1,908.83       0.00      Gross wages, salary, tips...             1,908.83   0.00
                                                                                                          Income from business...                   0.00       0.00      Income from business...                      0.00   0.00
                                                                                                          Rents and real property income...         0.00       0.00      Rents and real property income...            0.00   0.00
                                                                                                          Interest, dividends...                    0.00       0.00      Interest, dividends...                       0.00   0.00
                                                                                                          Pension, retirement...                    0.00       0.00      Pension, retirement...                       0.00   0.00
                                                                                                          Contributions to HH Exp...                0.00       0.00      Contributions to HH Exp...                   0.00   0.00
                                                                                                          Unemployment...                           0.00       0.00      Unemployment...                              0.00   0.00
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                                                                                                          Other Income...                           0.00       0.00      Other Income...                              0.00   0.00


                                                                                                          Income Month 5                                                 Income Month 6


                                                                                                          Gross wages, salary, tips...          1,908.83       0.00      Gross wages, salary, tips...             1,908.83   0.00
                                                                                                          Income from business...                   0.00       0.00      Income from business...                      0.00   0.00
                                                                                                          Rents and real property income...         0.00       0.00      Rents and real property income...            0.00   0.00
                                                                                                          Interest, dividends...                    0.00       0.00      Interest, dividends...                       0.00   0.00
                                                                                                          Pension, retirement...                    0.00       0.00      Pension, retirement...                       0.00   0.00
                                                                                                          Contributions to HH Exp...                0.00       0.00      Contributions to HH Exp...                   0.00   0.00
                                                                                                          Unemployment...                           0.00       0.00      Unemployment...                              0.00   0.00
                                                                                                          Other Income...                           0.00       0.00      Other Income...                              0.00   0.00



                                                                                                                                              Additional Items as Designated, if any




                                                                                                                                                              Remarks
                                                                                                                                                Case 14-12676-reg                        Doc 1           Filed 10/22/14                    Page 17 of 62
                                                                                                          B1 (Official Form 1) (04/13)
                                                                                                                                                      United States Bankruptcy Court                                                                            Voluntary Petition
                                                                                                                                                        Northern District of Indiana
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Scott, Linda Sue
                                                                                                           All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                            None

                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 6641                                               (if more than one, state all):

                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            21727 Woodburn Road
                                                                                                            Woodburn, IN                                                        ZIPCODE                                                                                             ZIPCODE
                                                                                                                                                                                     46797
                                                                                                           County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                            Allen
                                                                                                           Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                               ZIPCODE                                                                                              ZIPCODE

                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                     (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                               Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                               See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                               Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                               Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                               Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                               check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13
                                                                                                                                                                                  Other N.A.                                                                   Nonmain Proceeding
                                                                                                                             Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                        (Check box, if applicable)                                    (Check one box)
                                                                                                           Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                            Debts are
                                                                                                                                                                                      Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                            primarily
                                                                                                           Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                            business debts.
                                                                                                           regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                    personal, family, or
                                                                                                                                                                                                                                    household purpose."
                                                                                                                                       Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                   Check one box:
                                                                                                                  Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                          Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                         on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                     Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                         classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                            5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                           million       million          million          million            million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                            million      million          million          million            million
                                                                                                                                   Case
                                                                                                          B1 (Official Form 1) (04/13)                 14-12676-reg                 Doc 1         Filed 10/22/14                Page 18 of 62                                        Page 2
                                                                                                          Voluntary Petition                                                                           Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                        Linda Sue Scott
                                                                                                                                   All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                          Location                                                                              Case Number:                                       Date Filed:
                                                                                                          Where Filed:
                                                                                                                            Northern District of Indiana                                               10/02768                                     03/08/2010
                                                                                                           Location                                                                             Case Number:                                       Date Filed:
                                                                                                           Where Filed:
                                                                                                                            N.A.
                                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                           Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                           District:                                                                             Relationship:                                     Judge:


                                                                                                                                          Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                          (To be completed if debtor is an individual
                                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                          relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                   12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                   available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                   debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                   Exhibit A is attached and made a part of this petition.                         X        /s/ Holly Ripke
                                                                                                                                                                                                        Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                        Exhibit C
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                                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                   No.


                                                                                                                                                                                         Exhibit D
                                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                           If this is a joint petition:
                                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                                   (Check any applicable box)
                                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                   has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                   this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                    (Check all applicable boxes)
                                                                                                                                   Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                                    (Address of landlord)
                                                                                                                                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                   filing of the petition.
                                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                                          B1 (Official Form 1) (04/13)                                                                                                                                                     Page 3
                                                                                                          Voluntary Petition                                                                      Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                 Linda Sue Scott
                                                                                                                                                                                         Signatures
                                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                                            is true and correct.
                                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and          I declare under penalty of perjury that the information provided in this petition
                                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under               is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief       proceeding, and that I am authorized to file this petition.
                                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the           (Check only one box.)
                                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                             I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                            I request relief in accordance with the chapter of title 11, United States                       Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                            Code, specified in this petition.                                                                attached.

                                                                                                                                                                                                             Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                             title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                             recognition of the foreign main proceeding is attached.
                                                                                                            X /s/ Linda Sue Scott
                                                                                                                Signature of Debtor                                                                 X
                                                                                                                                                                                                        (Signature of Foreign Representative)
                                                                                                            X
                                                                                                                Signature of Joint Debtor

                                                                                                                                                                                                         (Printed Name of Foreign Representative)
                                                                                                                 Telephone Number (If not represented by attorney)
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                                                                                                                                                                                                          (Date)
                                                                                                                 Date

                                                                                                                                 Signature of Attorney*                                                      Signature of Non-Attorney Petition Preparer
                                                                                                           X       /s/ Holly Ripke
                                                                                                                Signature of Attorney for Debtor(s)                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                   as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                                HOLLY RIPKE 22290-02                                                               and have provided the debtor with a copy of this document and the notices and
                                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                   information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                   rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                RIPKE LAW P.C.                                                                     setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                Firm Name                                                                          preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                4705 Illinois Rd, Ste 101                                                          document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                Address                                                                            required in that section. Official Form 19 is attached.

                                                                                                                Fort Wayne, IN 46804
                                                                                                                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                260-434-1990
                                                                                                               Telephone Number
                                                                                                                                                                                                   Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                                                                                   state the Social Security number of the officer, principal, responsible person or
                                                                                                              Date                                                                                 partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                                           information in the schedules is incorrect.                                               Address

                                                                                                                   Signature of Debtor (Corporation/Partnership)
                                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                                             is true and correct, and that I have been authorized to file this petition on        X
                                                                                                             behalf of the debtor.

                                                                                                             The debtor requests relief in accordance with the chapter of title 11,                   Date
                                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                                      Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                      person, or partner whose Social Security number is provided above.
                                                                                                           X
                                                                                                                Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                      assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                      not an individual:
                                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                                      If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                      conforming to the appropriate official form for each person.
                                                                                                                Title of Authorized Individual
                                                                                                                                                                                                      A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                      and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                               Date
                                                                                                                                                                                                      imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                                    Case 14-12676-reg      Doc 1   Filed 10/22/14     Page 20 of 62

                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                       Northern District of Indiana




                                                                                                                Linda Sue Scott
                                                                                                          In re______________________________________                             Case No._____________
                                                                                                                          Debtor(s)                                                     (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                                                   Case 14-12676-reg           Doc 1   Filed 10/22/14    Page 21 of 62
                                                                                                          B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                 Page 2


                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                       Signature of Debtor:             /s/ Linda Sue Scott
                                                                                                                                                                       LINDA SUE SCOTT


                                                                                                                                                           Date: _________________
                                                                                                                                         Case 14-12676-reg    Doc 1         Filed 10/22/14          Page 22 of 62
                                                                                                          B8 (Official Form 8) (12/08)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                        Northern District of Indiana
                                                                                                                  Linda Sue Scott
                                                                                                          In re                                                         ,         Case No.
                                                                                                                                         Debtor                                                        Chapter 7



                                                                                                                                   CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                           PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                           secured by property of the estate. Attach additional pages if necessary.)


                                                                                                             Property No. 1        NO SECURED PROPERTY
                                                                                                            Creditor's Name:                                                 Describe Property Securing Debt:




                                                                                                             Property will be (check one):
                                                                                                                       Surrendered                           Retained

                                                                                                             If retaining the property, I intend to (check at least one):
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                                                                                                                        Redeem the property
                                                                                                                        Reaffirm the debt
                                                                                                                        Other. Explain _______________________________________________(for example, avoid lien
                                                                                                             using 11 U.S.C. §522(f)).

                                                                                                             Property is (check one):
                                                                                                                        Claimed as exempt                                   Not claimed as exempt



                                                                                                             Property No. 2 (if necessary)
                                                                                                            Creditor's Name:                                                 Describe Property Securing Debt:




                                                                                                             Property will be (check one):
                                                                                                                       Surrendered                           Retained

                                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                                        Redeem the property
                                                                                                                        Reaffirm the debt
                                                                                                                        Other. Explain _______________________________________________(for example, avoid lien
                                                                                                             using 11 U.S.C. §522(f)).

                                                                                                             Property is (check one):
                                                                                                                        Claimed as exempt                                   Not claimed as exempt
                                                                                                                                           Case 14-12676-reg      Doc 1      Filed 10/22/14        Page 23 of 62
                                                                                                          B8 (Official Form 8) (12/08)                                                                                     Page 2

                                                                                                              PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                              Each unexpired lease. Attach additional pages if necessary.)



                                                                                                                Property No. 1           NO Leased Property
                                                                                                               Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                       YES              NO


                                                                                                                Property No. 2 (if necessary)
                                                                                                               Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                       YES              NO


                                                                                                                Property No. 3 (if necessary)
                                                                                                               Lessor's Name:                                 Describe Leased Property:             Lease will be Assumed pursuant
                                                                                                                                                                                                    to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                       YES              NO
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                                                                                                                0
                                                                                                               ______ continuation sheets attached (if any)

                                                                                                              I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                              Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                              Date:_____________________________                          /s/ Linda Sue Scott
                                                                                                                                                                       Signature of Debtor




                                                                                                                                                                       Signature of Joint Debtor
                                                                                                                                            Case 14-12676-reg                  Doc 1         Filed 10/22/14             Page 24 of 62
                                                                                                          B203
                                                                                                          12/94
                                                                                                                                                    United States Bankruptcy Court
                                                                                                                                                                       Northern District of Indiana
                                                                                                                  In re Linda Sue Scott                                                                     Case No. ____________________
                                                                                                                                                                                                            Chapter           7
                                                                                                                                                                                                                         ____________________
                                                                                                                  Debtor(s)
                                                                                                                                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                          1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                                  and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                                  rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                                650.00
                                                                                                                  For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                                    650.00
                                                                                                                  Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                                  0.00
                                                                                                                  Balance Due ......................................……………………………………….................... $ ______________

                                                                                                          2.      The source of compensation paid to me was:

                                                                                                                                   Debtor                   Other (specify)
                                                                                                          3.      The source of compensation to be paid to me is:
                                                                                                                                   Debtor                   Other (specify)

                                                                                                          4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
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                                                                                                          associates of my law firm.

                                                                                                                     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                          of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                          5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                                   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                                   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                                   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                           6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                                     CERTIFICATION

                                                                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                       debtor(s) in the bankruptcy proceeding.

                                                                                                                                                                                              /s/ Holly Ripke
                                                                                                                       ____________________________________                                 __________________________________________________
                                                                                                                                      Date                                                                    Signature of Attorney
                                                                                                                                                                                              RIPKE LAW P.C.
                                                                                                                                                                                            __________________________________________________
                                                                                                                                                                                                             Name of law firm
                                                                                                          B7 (Official Form 7) (04/13)   Case 14-12676-reg               Doc 1        Filed 10/22/14            Page 25 of 62
                                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                                     Northern District of Indiana

                                                                                                            In Re Linda Sue Scott                                                                                  Case No.
                                                                                                                                                                                                                                    (if known)


                                                                                                                                                               STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                              This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                    the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                    information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                    filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                    provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                    indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                    R. Bankr. P. 1007(m).

                                                                                                                              Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                    must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                    space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                    (if known), and the number of the question.

                                                                                                                    DEFINITIONS

                                                                                                                               "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                    individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
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                                                                                                                    the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                    the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                    employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                    in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                               "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                    their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                    control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                    the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                               1. Income from employment or operation of business

                                                                                                                               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                               the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                   None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                               the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                               of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                               spouses are separated and a joint petition is not filed.)

                                                                                                                                         AMOUNT                                              SOURCE

                                                                                                                       2014                 15k      Wages

                                                                                                                       2013                 20k

                                                                                                                       2012                   1k
                                                                                                                               Case 14-12676-reg                   Doc 1         Filed 10/22/14             Page 26 of 62
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                                                                                                                     2.   Income other than from employment or operation of business

                                                                                                          None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                     of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                     particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)

                                                                                                                      AMOUNT                                                                SOURCE




                                                                                                                     3. Payments to creditors
                                                                                                          None

                                                                                                                     Complete a. or b., as appropriate, and c.
                                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                     goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                     this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                     Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                     or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                     counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                         PAYMENTS                                PAID                  OWING




                                                                                                          None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                     constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
                                                                                                                     (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                     alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                          *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                           AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
                                                                                                                               Case 14-12676-reg                    Doc 1       Filed 10/22/14             Page 27 of 62
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                             3




                                                                                                          None

                                                                                                                     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                     for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                     include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                                 DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                            AND RELATIONSHIP TO DEBTOR                                  PAYMENTS                                                   OWING


                                                                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                          None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                     preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           CAPTION OF SUIT                   NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                          AND CASE NUMBER                                                               AGENCY AND LOCATION                          DISPOSITION
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                                                                                                          None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                     13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND ADDRESS OF                                           DATE OF                                        DESCRIPTION AND
                                                                                                           PERSON FOR WHOSE BENEFIT                                        SEIZURE                                       VALUE OF PROPERTY
                                                                                                             PROPERTY WAS SEIZED


                                                                                                                     5.   Repossessions, foreclosures and returns

                                                                                                          None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                     lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                     both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                             ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                          CREDITOR OR SELLER                              TRANSFER OR RETURN
                                                                                                                                  Case 14-12676-reg               Doc 1        Filed 10/22/14            Page 28 of 62
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                                                                                                                     6. Assignments and Receiverships

                                                                                                          None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                     assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                     joint petition is not filed.)


                                                                                                                   NAME AND                                      DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                                  ADDRESS OF                                                                                        ASSIGNMENT
                                                                                                                    ASSIGNEE                                                                                       OR SETTLEMENT


                                                                                                          None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                     year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                     must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                                                   NAME AND                            NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                  ADDRESS OF                           OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                  CUSTODIAN                                 & NUMBER
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                                                                                                                     7.   Gifts

                                                                                                          None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                     case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                     member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                               RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                ADDRESS OF                            TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                          PERSON OR ORGANIZATION


                                                                                                                     8.   Losses

                                                                                                          None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                     chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)


                                                                                                              DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                               AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                              OF PROPERTY                                     INSURANCE, GIVE PARTICULARS
                                                                                                                               Case 14-12676-reg                 Doc 1        Filed 10/22/14            Page 29 of 62
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                                                                                                                     9.   Payments related to debt counseling or bankruptcy

                                                                                                          None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                     for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                     bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                      NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                          OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                              OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                          Holly Ripke                                   12/2013                                         $650
                                                                                                          RIPKE LAW P.C.
                                                                                                          4705 Illinois Rd, Ste 101
                                                                                                          Fort Wayne, IN 46804


                                                                                                                     10. Other transfers

                                                                                                          None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                     of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                     of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                     whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                              NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                  RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                    VALUE RECEIVED


                                                                                                                     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                     to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                          None

                                                                                                                 NAME OF TRUST OR OTHER DEVICE                                 DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                              TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                             VALUE OF PROPERTY OR
                                                                                                                                                                                                          DEBTOR'S INTEREST IN PROPERTY


                                                                                                                     11. Closed financial accounts

                                                                                                          None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                     were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                     Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                     accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                     institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                     instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                   NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                                  ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                                  INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
                                                                                                                               Case 14-12676-reg                 Doc 1        Filed 10/22/14             Page 30 of 62
                                                                                                          B7 (Official Form 7) (04/13)                                                                                                          6




                                                                                                                     12. Safe deposit boxes

                                                                                                          None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                     valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                     chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                     is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                      NAME AND                      NAMES AND ADDRESSES OF                     DESCRIPTION OF               DATE OF
                                                                                                                   ADDRESS OF BANK                 THOSE WITH ACCESS TO BOX                      CONTENTS                 TRANSFER OR
                                                                                                                 OR OTHER DEPOSITORY                    OR DEPOSITORY                                                   SURRENDER, IF ANY


                                                                                                                     13. Setoffs

                                                                                                          None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                 NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                  OF                                      OF
                                                                                                                                                                                SETOFF                                  SETOFF
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                                                                                                                     14. Property held for another person

                                                                                                          None            List all property owned by another person that the debtor holds or controls.


                                                                                                                     NAME AND                                DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                  ADDRESS OF OWNER                          VALUE OF PROPERTY


                                                                                                                     15. Prior address of debtor
                                                                                                          None
                                                                                                                            If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                     premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                     joint petition is filed, report also any separate address of either spouse.


                                                                                                                   ADDRESS                                           NAME USED                                    DATES OF OCCUPANCY


                                                                                                          Cottonwood Dr                                                                                   2012
                                                                                                          Indianapolis, IN

                                                                                                          3338 Keystone                                                                                   2003-2011
                                                                                                          Indianapolis, IN
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                                                                                                                     16. Spouses and Former Spouses
                                                                                                          None
                                                                                                                         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                     eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                     any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                   NAME


                                                                                                                     17. Environmental Sites

                                                                                                                     For the purpose of this question, the following definitions apply:

                                                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                     other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                     wastes, or material.

                                                                                                                                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                                presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
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                                                                                                                                hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                          None
                                                                                                                     a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                     unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                     governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                  SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                     b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                     of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                          None

                                                                                                                  SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                     c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                     with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                          None       was a party to the proceeding, and the docket number.


                                                                                                                    NAME AND ADDRESS                                DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                                  OF GOVERNMENTAL UNIT
                                                                                                                                        Case 14-12676-reg                     Doc 1          Filed 10/22/14               Page 32 of 62
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                                                                                                                            18. Nature, location and name of business

                                                                                                                 None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                            businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                            managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                            other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                            which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                            preceding the commencement of this case.

                                                                                                                            If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                            beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                            voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                            If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                            beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                            voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                                   NAME               LAST FOUR DIGITS OF                        ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                                                      SOCIAL-SECURITY OR                                                                       ENDING DATES
                                                                                                                                       OTHER INDIVIDUAL
                                                                                                                                        TAXPAYER-I.D. NO.
                                                                                                                                      (ITIN)/ COMPLETE EIN
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                                                                                                                            b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                            U.S.C. § 101.
                                                                                                                 None

                                                                                                                            NAME                                                                                         ADDRESS




                                                                                                                                          [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                                   *    *    *    *    *    *


                                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                 thereto and that they are true and correct.
                                                                                                                                                                                                    /s/ Linda Sue Scott
                                                                                                          Date                                                              Signature
                                                                                                                                                                            of Debtor               LINDA SUE SCOTT
                                                                                                                                                 Case 14-12676-reg                           Doc 1           Filed 10/22/14                    Page 33 of 62
                                                                                                                       B7 (Official Form 7) (04/13)                                                                                                                                         9




                                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                                _____


                                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                          rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                          have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                          in that section.




                                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
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                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                          partner who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                          not an individual:

                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                          or imprisonment or both. 18 U.S.C. §156.
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                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
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                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
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                                                                                                                B6 Summary (Official Form 6 - Summary) (12/13)




                                                                                                                                                     United States Bankruptcy Court
                                                                                                                            Linda Sue Scott
                                                                                                                                                                Northern District of Indiana

                                                                                                               In re                                                                                        Case No.
                                                                                                                                                                Debtor
                                                                                                                                                                                                            Chapter        7

                                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                                         ATTACHED
                                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                            A – Real Property
                                                                                                                                                                                              $
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                                                                                                                                                         YES                     1                        0.00

                                                                                                            B – Personal Property
                                                                                                                                                         YES                     3            $      2,775.00

                                                                                                            C – Property Claimed
                                                                                                                as exempt                                YES                     1

                                                                                                            D – Creditors Holding
                                                                                                               Secured Claims                            YES                     1                                  $           0.00

                                                                                                            E - Creditors Holding Unsecured
                                                                                                                Priority Claims                                                                                     $
                                                                                                               (Total of Claims on Schedule E)
                                                                                                                                                         YES                     2                                              0.00

                                                                                                            F - Creditors Holding Unsecured                                                                         $
                                                                                                                Nonpriority Claims                       YES                     10                                        17,363.00

                                                                                                            G - Executory Contracts and
                                                                                                                Unexpired Leases                         YES                     1


                                                                                                            H - Codebtors                                YES                     1

                                                                                                            I - Current Income of
                                                                                                                Individual Debtor(s)                     YES                     2                                                        $     1,505.83

                                                                                                            J - Current Expenditures of Individual
                                                                                                                Debtors(s)                               YES                     3                                                        $     1,414.00


                                                                                                                                                 TOTAL                           25           $      2,775.00       $      17,363.00
                                                                                                            Official Form 6 - Statistical
                                                                                                                                  CaseSummary  (12/13)
                                                                                                                                          14-12676-reg                      Doc 1      Filed 10/22/14        Page 36 of 62
                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                  Northern District of Indiana

                                                                                                                       In re       Linda Sue Scott                                                           Case No.
                                                                                                                                                                 Debtor
                                                                                                                                                                                                             Chapter      7

                                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                          information here.

                                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                             Type of Liability                                                               Amount
                                                                                                             Domestic Support Obligations (from Schedule E)                              $
                                                                                                                                                                                                      0.00
                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from              $
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                                                                                                             Schedule E)
                                                                                                                                                                                                      0.00
                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from      $
                                                                                                             Schedule E) (whether disputed or undisputed)                                             0.00
                                                                                                             Student Loan Obligations (from Schedule F)                                  $
                                                                                                                                                                                                      0.00
                                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                  $
                                                                                                             Obligations Not Reported on Schedule E                                                   0.00
                                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations     $
                                                                                                             (from Schedule F)                                                                        0.00

                                                                                                                                                                               TOTAL     $            0.00


                                                                                                            State the Following:
                                                                                                             Average Income (from Schedule I, Line 12)                                   $       1,505.83
                                                                                                             Average Expenses (from Schedule J, Line 22)                                 $
                                                                                                                                                                                                 1,414.00
                                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                             22B Line 11; OR, Form 22C Line 20 )                                         $
                                                                                                                                                                                                 1,908.83



                                                                                                            State the Following:
                                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF                                                $
                                                                                                             ANY” column                                                                                                0.00

                                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO                               $
                                                                                                             PRIORITY” column.                                                                        0.00

                                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                               $
                                                                                                             PRIORITY, IF ANY” column                                                                                   0.00

                                                                                                             4. Total from Schedule F                                                                        $    17,363.00
                                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                    $
                                                                                                                                                                                                                  17,363.00
                                                                                                          B6A (Official Form 6A) (12/07)Case        14-12676-reg            Doc 1        Filed 10/22/14                                Page 37 of 62

                                                                                                          In re    Linda Sue Scott                                                                       Case No.
                                                                                                                                     Debtor                                                                                                    (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                         DESCRIPTION AND LOCATION                             NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                                OF PROPERTY                                  INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY        CLAIM
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                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                                  None




                                                                                                                                                                                                        Total
                                                                                                                                                                                                                                                   0.00

                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                                       Case
                                                                                                          B6B (Official Form 6B) (12/07)                           14-12676-reg      Doc 1        Filed 10/22/14        Page 38 of 62

                                                                                                          In re     Linda Sue Scott                                                                          Case No.
                                                                                                                                            Debtor                                                                              (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                      N                                                                                        IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                                O                 DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                                      N                       OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                                      E                                                                                      SECURED CLAIM
                                                                                                                                                                                                                                                              OR EXEMPTION
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                                                                                                            1. Cash on hand.                                              Cash on hand                                                                                25.00
                                                                                                                                                                          Possession of Debtors

                                                                                                            2. Checking, savings or other financial accounts,             Walmart Debit Card                                                                         100.00
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                            and loan, thrift, building and loan, and homestead            Possession of Debtors
                                                                                                            associations, or credit unions, brokerage houses,
                                                                                                            or cooperatives.


                                                                                                            3. Security deposits with public utilities,              X
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including                 Household goods                                                                            400.00
                                                                                                            audio, video, and computer equipment.
                                                                                                                                                                          Possession of Debtors

                                                                                                                                                                          Desktop computer                                                                           200.00
                                                                                                                                                                          Possession of Debtors

                                                                                                            5. Books. Pictures and other art objects,                X
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.

                                                                                                            6. Wearing apparel.                                           Necessary Clothing                                                                         250.00
                                                                                                                                                                          Possession of Debtors

                                                                                                            7. Furs and jewelry.                                          Costume jewelry, engagement ring                                                           300.00
                                                                                                                                                                          Possession of Debtors

                                                                                                            8. Firearms and sports, photographic, and other          X
                                                                                                            hobby equipment.
                                                                                                          B6B (Official Form 6B) (12/07)Case
                                                                                                                                         -- Cont.14-12676-reg             Doc 1    Filed 10/22/14         Page 39 of 62

                                                                                                          In re     Linda Sue Scott                                                            Case No.
                                                                                                                                            Debtor                                                                (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                        (Continuation Sheet)




                                                                                                                                                                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                              CURRENT VALUE OF




                                                                                                                                                                                                                         OR COMMUNITY
                                                                                                                                                                                                                                              DEBTOR’S INTEREST
                                                                                                                                                                   N                                                                             IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                             O         DESCRIPTION AND LOCATION                                              WITHOUT
                                                                                                                                                                   N               OF PROPERTY                                                 DEDUCTING ANY
                                                                                                                                                                   E                                                                           SECURED CLAIM
                                                                                                                                                                                                                                                OR EXEMPTION


                                                                                                            9. Interests in insurance policies. Name               X
                                                                                                            insurance company of each policy and itemize
                                                                                                            surrender or refund value of each.

                                                                                                            10. Annuities. Itemize and name each issuer.           X
                                                                                                            11. Interests in an education IRA as defined in 26     X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                            12. Interests in IRA, ERISA, Keogh, or other           X
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                                                                                                            pension or profit sharing plans. Give particulars.

                                                                                                            13. Stock and interests in incorporated and            X
                                                                                                            unincorporated businesses. Itemize.

                                                                                                            14. Interests in partnerships or joint ventures.       X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other           X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                               X
                                                                                                            17. Alimony, maintenance, support, and property        X
                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.

                                                                                                            18. Other liquidated debts owing debtor including      X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and   X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.

                                                                                                            20. Contingent and noncontingent interests in          X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of        X
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual        X
                                                                                                            property. Give particulars.

                                                                                                            23. Licenses, franchises, and other general            X
                                                                                                            intangibles. Give particulars.
                                                                                                                                      Case
                                                                                                          B6B (Official Form 6B) (12/07)       14-12676-reg
                                                                                                                                         -- Cont.                               Doc 1        Filed 10/22/14          Page 40 of 62

                                                                                                          In re     Linda Sue Scott                                                                       Case No.
                                                                                                                                            Debtor                                                                                 (If known)

                                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                                 N                                                                                                     IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                           O                 DESCRIPTION AND LOCATION                                                              WITHOUT
                                                                                                                                                                 N                       OF PROPERTY                                                                 DEDUCTING ANY
                                                                                                                                                                 E                                                                                                   SECURED CLAIM
                                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                            24. Customer lists or other compilations             X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other             2002 Kia Sportage                                                                                     1,500.00
                                                                                                            vehicles and accessories.
                                                                                                                                                                     Possession of Debtors

                                                                                                                                                                 X
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                                                                                                            26. Boats, motors, and accessories.

                                                                                                            27. Aircraft and accessories.                        X
                                                                                                            28. Office equipment, furnishings, and supplies.     X
                                                                                                            29. Machinery, fixtures, equipment, and supplies     X
                                                                                                            used in business.

                                                                                                            30. Inventory.                                       X
                                                                                                            31. Animals.                                         X
                                                                                                            32. Crops - growing or harvested. Give               X
                                                                                                            particulars.

                                                                                                            33. Farming equipment and implements.                X
                                                                                                            34. Farm supplies, chemicals, and feed.              X
                                                                                                            35. Other personal property of any kind not          X
                                                                                                            already listed. Itemize.




                                                                                                                                                                                        0                                                                           $
                                                                                                                                                                                                 continuation sheets attached        Total                                 2,775.00
                                                                                                                                                                                                 (Include amounts from any continuation
                                                                                                                                                                                                   sheets attached. Report total also on
                                                                                                                                                                                                         Summary of Schedules.)
                                                                                                                                          Case 14-12676-reg             Doc 1        Filed 10/22/14           Page 41 of 62
                                                                                                            B6C (Official Form 6C) (04/13)


                                                                                                          In re    Linda Sue Scott                                                                 Case No.
                                                                                                                                    Debtor                                                                               (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                  $155,675*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                             Walmart Debit Card                              IC § 34-55-10-2(b)(3)                                  100.00                     100.00

                                                                                                             Cash on hand                                    IC § 34-55-10-2(b)(3)                                   25.00                      25.00

                                                                                                             Household goods                                 IC § 34-55-10-2(b)(2)                                  400.00                     400.00

                                                                                                             Desktop computer                                IC § 34-55-10-2(b)(2)                                  200.00                     200.00
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                                                                                                             Necessary Clothing                              IC § 34-55-10-2(b)(2)                                  250.00                     250.00

                                                                                                             Costume jewelry, engagement ring                IC § 34-55-10-2(b)(2)                                  300.00                     300.00

                                                                                                             2002 Kia Sportage                               IC § 34-55-10-2(b)(2)                                1,500.00                    1,500.00




                                                                                                           *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   Linda Sue Scott
                                                                                                          In re _______________________________________________,                                                         Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                          (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                    AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                                                                             DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                       DISPUTED
                                                                                                                                                                       ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                           NATURE OF LIEN, AND                                                  CLAIM           UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                          DESCRIPTION AND                                                    WITHOUT           PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                           VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                                                     (See Instructions Above.)                                                    SUBJECT TO LIEN                                                   VALUE OF
                                                                                                                                                                                                                                                                  COLLATERAL


                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $

                                                                                                             0
                                                                                                           _______continuation sheets attached                                                                            Subtotal     $                                0.00    $          0.00
                                                                                                                                                                                                                  (Total of this page)
                                                                                                                                                                                                                              Total    $                                0.00    $          0.00
                                                                                                                                                                                                               (Use only on last page)
                                                                                                                                                                                                                                                        (Report also on       (If applicable, report
                                                                                                                                                                                                                                                        Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                              Summary of Certain
                                                                                                                                                                                                                                                                              Liabilities and Related
                                                                                                                                                                                                                                                                              Data.)
                                                                                                                                       Case 14-12676-reg                 Doc 1        Filed 10/22/14            Page 43 of 62
                                                                                                          B6E (Official Form 6E) (04/13)


                                                                                                                    Linda Sue Scott
                                                                                                             In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                     Debtor                                                                               (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                        Linda Sue Scott
                                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                 * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                 adjustment.




                                                                                                                                                                     0
                                                                                                                                                                    ____ continuation sheets attached
                                                                                                                                           Case 14-12676-reg                                          Doc 1     Filed 10/22/14        Page 45 of 62
                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   Linda Sue Scott
                                                                                                           In re __________________________________________,                                                                   Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                          (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                                   AMOUNT
                                                                                                                       MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                       OF
                                                                                                                     INCLUDING ZIP CODE,
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                                                                                                                                                                                                                 SO STATE.                                                                CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.                                                                            Incurred: 2014
                                                                                                          Accounts Receivalbe Mgmt                                                               Consideration: Creditor Representative
                                                                                                          PO Box 129                                                                                                                                                                     Notice Only
                                                                                                          Thorofare, NJ 08086



                                                                                                          ACCOUNT NO.                                                                            Incurred: 2014
                                                                                                          Allied Hospital Pathologists                                                           Consideration: Medical Services
                                                                                                          4245 Reliable Parkway                                                                                                                                                                    31.00
                                                                                                          Chicago IL 60686-0042



                                                                                                          ACCOUNT NO.                                                                            Incurred: 2014
                                                                                                          Assoc Anes of Ft Wayne                                                                 Consideration: Medical Services
                                                                                                          PO Box 633260                                                                                                                                                                            91.00
                                                                                                          Cincinnati OH 45263-3260



                                                                                                          ACCOUNT NO.                                                                            Incurred: 2014
                                                                                                          Bluestem Brands                                                                        Consideration: Collection
                                                                                                          c/o JC Christensen & Assoc                                                                                                                                                              465.00
                                                                                                          PO Box 519
                                                                                                          Sauk Rapids, MN 56379


                                                                                                                9
                                                                                                              _______continuation sheets attached                                                                                           Subtotal                                 $            587.00
                                                                                                                                                                                                                              Total                                                  $
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                                        Case 14-12676-reg                                          Doc 1       Filed 10/22/14          Page 46 of 62
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2012
                                                                                                          Bullcity Financial                                                                 Consideration: Creditor Representative
                                                                                                          1107 W Main St, Ste 201                                                                                                                                                               Notice Only
                                                                                                          Durham, NC 27701
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-814 - 31771-301X-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.                                                                        Incurred: 2011-2012
                                                                                                          Capital One                                                                        Consideration: Credit card debt
                                                                                                          c/o Recovery Mgmt Systems Corp                                                                                                                                                                291.00
                                                                                                          25 SE 2nd Ave, Ste 1120
                                                                                                          Miami, FL 33131-1605


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2007-2014
                                                                                                          Capital One                                                                        Consideration: Credit card debt
                                                                                                          c/o Recovery Mgmt Systems Corp                                                                                                                                                                925.00
                                                                                                          25 SE 2nd Ave, Ste 1120
                                                                                                          Miami, FL 33131-1605


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2008
                                                                                                          Care Credit/GEMB                                                                   Consideration: Medical Services
                                                                                                          PO Box 981439                                                                                                                                                                                 709.00
                                                                                                          Elpaso, Tx 79998



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2014
                                                                                                          Cavalry Portfolio Services                                                         Consideration: Creditor Representative
                                                                                                          500 Summit Lake Dr, Ste 400                                                                                                                                                           Notice Only
                                                                                                          Valhalla, NY 10595



                                                                                                                     1 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          1,925.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
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                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
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                                                                                                                    INCLUDING ZIP CODE,
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Comcast Cable                                                                      Consideration: Cable/Satellite
                                                                                                          720 Taylor Street                                                                                                                                                                             195.00
                                                                                                          Ft Wayne IN 46802
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Community South Hospital Indianapolis                                              Consideration: Medical Services
                                                                                                          1402 E County Line Rd                                                                                                                                                                         100.00
                                                                                                          Indianapolis, IN 46227



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Credit Collection Services                                                         Consideration: Collection
                                                                                                          Two Wells Ave, Dept 773                                                                                                                                                               Notice Only
                                                                                                          Newton, MA 02459



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2012
                                                                                                          Credit Protection Association                                                      Consideration: Creditor Representative
                                                                                                          PO Box 802068                                                                                                                                                                         Notice Only
                                                                                                          Dallas TX 75380-2068



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2014
                                                                                                          Dr Brenda Russell                                                                  Consideration: Medical Services
                                                                                                          1250 E County Line Rd                                                                                                                                                                         290.00
                                                                                                          Suite 9
                                                                                                          Indianapolis, IN 46227


                                                                                                                     2 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $           585.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2010
                                                                                                          Duke Energy                                                                        Consideration: Utilities
                                                                                                          PO Box 1327                                                                                                                                                                                   157.00
                                                                                                          Charlotte, NC 28201
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2009-2011
                                                                                                          Fingerhut                                                                          Consideration: Credit card debt
                                                                                                          PO box 166                                                                                                                                                                                    465.00
                                                                                                          Newark, NJ 07101



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2010
                                                                                                          GE Money Bank                                                                      Consideration: Credit card debt
                                                                                                          PO Box 960061                                                                                                                                                                                1,169.00
                                                                                                          Orlando FL 32896-0061



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Helvey & Associates                                                                Consideration: Creditor Representative
                                                                                                          1015 E Center Street                                                                                                                                                                  Notice Only
                                                                                                          Warsaw IN 46580



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2012-2014
                                                                                                          HSBC Bank                                                                          Consideration: Credit card debt
                                                                                                          PO box 5253                                                                                                                                                                                   472.00
                                                                                                          Carol Stream, IL 60197



                                                                                                                     3 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          2,263.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2008
                                                                                                          Indianapolis Gastroenterology                                                      Consideration: Medical Services
                                                                                                          c/o GLA Collection Company                                                                                                                                                                    221.00
                                                                                                          PO Box 7728
                                                                                                          Louisville KY 40257-0728
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Jefferson Capital Sys                                                              Consideration: Collection
                                                                                                          16 McLeland Rd                                                                                                                                                                        Notice Only
                                                                                                          Saint Cloud, MN 56303



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Lutheran Hospital                                                                  Consideration: Medical Services
                                                                                                          15691 Collections Ctr Dr                                                                                                                                                              Notice Only
                                                                                                          Chicago, IL 60693



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Lutheran Medical Group                                                             Consideration: Medical Services
                                                                                                          PO box 4852                                                                                                                                                                           Notice Only
                                                                                                          Belfast, ME 04915



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2014
                                                                                                          Med Partners                                                                       Consideration: Medical Services
                                                                                                          111 E Wayne St                                                                                                                                                                        Notice Only
                                                                                                          Fort Wayne, IN 46802



                                                                                                                     4 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $           221.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                        Case 14-12676-reg                                          Doc 1       Filed 10/22/14          Page 50 of 62
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                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Med Shield Inc                                                                     Consideration: Medical Services
                                                                                                          PO Box 55707                                                                                                                                                                          Notice Only
                                                                                                          Indianapolis IN 46205
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Medical Payment Center                                                             Consideration: Medical Services
                                                                                                          6089 Stoney Creek Dr                                                                                                                                                                  Notice Only
                                                                                                          Fort Wayne, IN46825



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Medtech College                                                                    Consideration: School Fees
                                                                                                          7230 Engle Rd                                                                                                                                                                                1,595.00
                                                                                                          Fort Wayne, IN 46804



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2013
                                                                                                          MSCB Inc                                                                           Consideration: Collection
                                                                                                          PO Box 1567                                                                                                                                                                           Notice Only
                                                                                                          Paris, TN 38242



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2014
                                                                                                          Neighborhood Health Clinics                                                        Consideration: Medical Services
                                                                                                          PO Box 11949                                                                                                                                                                                   69.00
                                                                                                          Ft Wayne IN 46862-1949



                                                                                                                     5 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          1,664.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                        Case 14-12676-reg                                          Doc 1       Filed 10/22/14          Page 51 of 62
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                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Northeast Indiana Urology                                                          Consideration: Medical Services
                                                                                                          PO box 13309                                                                                                                                                                                   47.00
                                                                                                          Fort Wayne, IN 46868
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2013
                                                                                                          Parkview Behaviorial Health                                                        Consideration: Medical Services
                                                                                                          1720 Beacon St                                                                                                                                                                                373.00
                                                                                                          Fort Wayne, IN 46805



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Parkview Health System                                                             Consideration: Medical Services
                                                                                                          PO box 10416                                                                                                                                                                          Notice Only
                                                                                                          Des Moines, IA 50306



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2013
                                                                                                          Parkview Hospital                                                                  Consideration: Medical Services
                                                                                                          PO Box 9358                                                                                                                                                                                  1,427.00
                                                                                                          Des Moines IA 50306-9358



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2014
                                                                                                          PFS                                                                                Consideration: Signature Loan
                                                                                                          6027 N Clinton                                                                                                                                                                        Notice Only
                                                                                                          Ft Wayne IN 46825



                                                                                                                     6 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          1,847.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                                                                        ORCOMMUNITY




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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Portfolio Recovery & Affil                                                         Consideration: Creditor Representative
                                                                                                          140 Corporate Blvd, Ste 100                                                                                                                                                           Notice Only
                                                                                                          Norfolk, VA 23502
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Premiere Credit of North Am                                                        Consideration: Creditor Representative
                                                                                                          PO Box 19309                                                                                                                                                                          Notice Only
                                                                                                          Indianapolis IN 46219-0309



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Professional Recovery Services                                                     Consideration: Creditor Representative
                                                                                                          7319 W Jefferson Blvd                                                                                                                                                                 Notice Only
                                                                                                          Ft Wayne IN 46804



                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Sprint                                                                             Consideration: Phone
                                                                                                          PO Box 740602                                                                                                                                                                                1,366.00
                                                                                                          Cincinnati OH 45274-0602



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2014
                                                                                                          St Joseph Hospital                                                                 Consideration: Medical Services
                                                                                                          15673 Collections Ctr Dr                                                                                                                                                                     1,700.00
                                                                                                          Chicago, IL 60693



                                                                                                                     7 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $          3,066.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                        Case 14-12676-reg                                          Doc 1       Filed 10/22/14          Page 53 of 62
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                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                                                                        ORCOMMUNITY




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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Summit Radiology                                                                   Consideration: Medical Services
                                                                                                          PO Box 66824                                                                                                                                                                               78.00
                                                                                                          Indianapolis IN 46266-6824
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2008
                                                                                                          The Endoscopy Center                                                               Consideration: Medical Services
                                                                                                          c/o GLA Collection Company                                                                                                                                                                508.00
                                                                                                          PO Box 7728
                                                                                                          Louisville KY 40257-0728


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2009
                                                                                                          Urology of Indiana LLC                                                             Consideration: Medical Services
                                                                                                          c/o GLA Collection Company                                                                                                                                                                764.00
                                                                                                          PO Box 7728
                                                                                                          Louisville KY 40257-0728


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2010-2014
                                                                                                          Wells Fargo Bank NV NA                                                             Consideration: Credit card debt
                                                                                                          PO Box 94435                                                                                                                                                                            1,686.00
                                                                                                          Albuquerque, NM 87199



                                                                                                           ACCOUNT NO.                                                                       Incurred: 2013
                                                                                                          Wishard Health Service                                                             Consideration: Medical Services
                                                                                                          c/o GLA Collection Company                                                                                                                                                                591.00
                                                                                                          PO Box 7728
                                                                                                          Louisville KY 40257-0728


                                                                                                                     8 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $     3,627.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                        Case 14-12676-reg                                          Doc 1       Filed 10/22/14          Page 54 of 62
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                                                                                                                    Linda Sue Scott
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Incurred: 2012
                                                                                                          Wishard Memorial Hospital                                                          Consideration: Medical Services
                                                                                                          c/o Med Shield Inc                                                                                                                                                                      1,351.00
                                                                                                          PO Box 55707
                                                                                                          Indianapolis IN 46205
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                                                                                                          ACCOUNT NO.                                                                        Incurred: 2014
                                                                                                          Women's Health Advantage                                                           Consideration: Medical Services
                                                                                                          7635 W Jefferson Blvd                                                                                                                                                                     227.00
                                                                                                          Ft Wayne IN 46804



                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                           ACCOUNT NO.




                                                                                                                     9 of _____continuation
                                                                                                          Sheet no. _____    9                sheets attached                                                                                     Subtotal                                  $     1,578.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $    17,363.00
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                                         Case 14-12676-reg                Doc 1        Filed 10/22/14            Page 55 of 62
                                                                                                          B6G (Official Form 6G) (12/07)


                                                                                                                  Linda Sue Scott                                                            Case No.
                                                                                                          In re
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                                                       Case 14-12676-reg                Doc 1        Filed 10/22/14            Page 56 of 62
                                                                                                          B6H (Official Form 6H) (12/07)




                                                                                                          In re   Linda Sue Scott                                                           Case No.
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                                                                 Case 14-12676-reg             Doc 1           Filed 10/22/14               Page 57 of 62

                                                                                                           Fill in this information to identify your case:


                                                                                                           Debtor 1           Linda Sue Scott
                                                                                                                              __________________________________________________________ _________
                                                                                                                               First Name             Middle Name             Last Name

                                                                                                           Debtor 2            __________________________________________________________________
                                                                                                           (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                         Northern
                                                                                                           United States Bankruptcy Court for the: ___________________________             IN
                                                                                                                                                                               District of ________

                                                                                                           Case number         ___________________________________________                                         Check if this is:
                                                                                                            (If known)
                                                                                                                                                                                                                         An amended filing
                                                                                                                                                                                                                         A supplement showing post-petition
                                                                                                                                                                                                                         chapter 13 income as of the following date:
                                                                                                                                                                                                                         ________________
                                                                                                          Official Form                     6I                                                                           MM / DD / YYYY


                                                                                                          Schedule I: Your Income                                                                                                                                 12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                          supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                          If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                          separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                           Part 1:           Describe Employment


                                                                                                          1. Fill in your employment
                                                                                                              information.                                                          Debtor 1                                          Debtor 2 or non-filing spouse
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                                                                                                              If you have more than one job,
                                                                                                              attach a separate page with                                       X
                                                                                                              information about additional          Employment status                  Employed                                           Employed
                                                                                                              employers.                                                               Not employed                                       Not employed
                                                                                                              Include part-time, seasonal, or
                                                                                                              self-employed work.                                             Receptionist
                                                                                                                                                    Occupation                 __________________ ________________                __________________________________
                                                                                                              Occupation may Include student
                                                                                                              or homemaker, if it applies.
                                                                                                                                                                              St Joseph Hospital
                                                                                                                                                    Employer’s name            __________________ ________________                __________________ ________________


                                                                                                                                                    Employer’s address        Ft Wayne IN
                                                                                                                                                                              _______________________________________             _______________________________________
                                                                                                                                                                                Number     Street                                  Number   Street

                                                                                                                                                                              _______________________________________             _______________________________________

                                                                                                                                                                              _______________________________________             _______________________________________

                                                                                                                                                                              Ft Wayne IN
                                                                                                                                                                              _______________________________________             _______________________________________
                                                                                                                                                                                City                  State   ZIP Code             City                State ZIP Code

                                                                                                                                                    How long employed there?          9 months
                                                                                                                                                                                     _______                                       _______

                                                                                                           Part 2:           Give Details About Monthly Income

                                                                                                              Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                              spouse unless you are separated.
                                                                                                              If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                              below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                                                   non-filing spouse
                                                                                                           2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                               deductions). If not paid monthly, calculate what the monthly wage would be.            2.        1,908.83                      N.A.
                                                                                                                                                                                                              $___________             $____________

                                                                                                           3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                           + $___________         +           N.A.
                                                                                                                                                                                                                                       $____________


                                                                                                           4. Calculate gross income. Add line 2 + line 3.                                            4.         1,908.83
                                                                                                                                                                                                              $__________                     N.A.
                                                                                                                                                                                                                                       $____________



                                                                                                          Official Form       6I                                           Schedule I: Your Income                                                            page 1
                                           Case 14-12676-reg                               Doc 1              Filed 10/22/14             Page 58 of 62
                  Linda Sue Scott
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                             1,908.83
                                                                                                                           $___________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                              5a.          403.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5e. Insurance                                                                                                  5e.            0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5f. Domestic support obligations                                                                               5f.
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5g. Union dues                                                                                                 5g.
    5h. Other deductions. Specify: __________________________________                                              5h.            0.00
                                                                                                                         + $____________       +          N.A.
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.          403.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________

                                                                                                                             1,505.83                    N.A.
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

    8a. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                   N.A.
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                   N.A.
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
    8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.            0.00
                                                                                                                         + $____________                N.A.
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.            0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             1,505.83
                                                                                                                          $___________     +             N.A. = $_____________
                                                                                                                                                   $_____________    1,505.83
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                  0.00
                                                                                                                                                                 11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            1,505.83
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                                                  Case 14-12676-reg               Doc 1        Filed 10/22/14              Page 59 of 62

                                                                                                            Fill in this information to identify your case:

                                                                                                            Debtor 1           Linda Sue Scott
                                                                                                                              __________________________________________________________________
                                                                                                                               First Name               Middle Name             Last Name                       Check if this is:
                                                                                                            Debtor 2           ________________________________________________________________
                                                                                                            (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                    An amended filing
                                                                                                                                                                                                                    A supplement showing post-petition chapter 13
                                                                                                                                                          Northern
                                                                                                            United States Bankruptcy Court for the: ___________________________             IN
                                                                                                                                                                                District of ________
                                                                                                                                                                                                                    expenses as of the following date:
                                                                                                                                                                                                                    ________________
                                                                                                            Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                            (If known)
                                                                                                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                    maintains a separate household
                                                                                                          Official Form                      6J
                                                                                                          Schedule J: Your Expenses                                                                                                                            12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                          information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                          (if known). Answer every question.

                                                                                                           Part 1:            Describe Your Household

                                                                                                          1. Is this a joint case?
                                                                                                             X    No. Go to line 2.
                                                                                                                  Yes. Does Debtor 2 live in a separate household?

                                                                                                                               No
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                                                                                                                               Yes. Debtor 2 must file a separate Schedule J.

                                                                                                          2. Do you have dependents?                      No
                                                                                                                                                      X                                      Dependent’s relationship to              Dependent’s   Does dependent live
                                                                                                             Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
                                                                                                             Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                                         No
                                                                                                             Do not state the dependents’                                                    __________________ _______               ________
                                                                                                             names.                                                                                                                                      Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                          3. Do your expenses include                 X   No
                                                                                                             expenses of people other than
                                                                                                             yourself and your dependents?                Yes

                                                                                                          Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                          Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                          expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                          applicable date.
                                                                                                          Include expenses paid for with non-cash government assistance if you know the value
                                                                                                          of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                         Your expenses

                                                                                                           4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                              0.00
                                                                                                               any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                        $_____________________

                                                                                                               If not included in line 4:
                                                                                                               4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                      0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                      0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                                                                                                                                        $_____________________

                                                                                                          Official Form        6J                                       Schedule J: Your Expenses                                                          page 1
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 Debtor 1         Linda Sue Scott
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                      250.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                         0.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                      196.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                                                                                                                         0.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      400.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                        70.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                        25.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                        50.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                      250.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                   85.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                    0.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.                   0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                  18.00
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_______________________________________                                   15d.                   0.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                         0.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                             0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                         0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2
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 Debtor 1         Linda Sue Scott
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name       Middle Name     Last Name




                              car repair$20,cigs$50                                                                                        70.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               1,414.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                       1,505.83
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 1,414.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                      91.83
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.     Explain here:




 Official Form     6J                                         Schedule J: Your Expenses                                                       page 3
                                                                                                                                            Case(12/07)
                                                                                                                B6 (Official Form 6 - Declaration) 14-12676-reg                                                Doc 1               Filed 10/22/14                        Page 62 of 62
                                                                                                                          Linda Sue Scott
                                                                                                                In re                                                                                                                                        Case No.
                                                                                                                                                       Debtor                                                                                                                                   (If known)

                                                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                    27
                                                                                                                           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                are true and correct to the best of my knowledge, information, and belief.



                                                                                                                 Date                                                                                                                 Signature:          /s/ Linda Sue Scott
                                                                                                                                                                                                                                                                                         Debtor


                                                                                                                 Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                                (Joint Debtor, if any)

                                                                                                                                                                                                                                             [If joint case, both spouses must sign.]
                                                                                                             -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                           compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                           110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                           by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                           accepting any fee from the debtor, as required by that section.
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                                                                                                           Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                           of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                            If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                            who signs this document.




                                                                                                            Address

                                                                                                            X
                                                                                                                                 Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                          18 U.S.C. § 156.
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                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                          or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                          in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                          shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                          Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
